1844 (ev.04n1, CASE 3:23-Cv-00328-DJN ARGHMEeRb Db kag PR T5/23 Page 1 of 1 Pagelb# 5

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the

civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Johnny O. Oliverio a/k/a John Gabriel Oliverio

(b) County of Residence of First Listed Plaintiff Henrico
(EXCEPT IN U.S. PLAINTIFF CASES}

DEFENDANTS

(c) Attorneys (Firm Name, Address, and Telephone Number}

Pro se; 1425 Green Pasture Road, Sandston, Va 23150

NOTE:

Attorneys (if Known)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Virginia Commonwealth University, et. al.

Richmond City

G. William Norris Jr, and M. Elizabeth Griffin
VCU, Box 843090, Richmond, VA 23284 804-828-6610

Il. BASIS OF JURISDICTION (Place an “x"

in One Box Only)

(For Diversity Cases Only)

ILL CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

Cc] 1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [-]1 [) 1 Incorporated or Principal Place Ci¢« (4
of Business In This State

[]2 US. Government []4 Diversity Citizen of Another State [}2 [[] 2 Incorporated and Principal Place [ls (4s

Defendant (Indicate Citizenship of Parties in Item HD of Business In Another State
Citizen or Subject of a [13 [2] 3 Foreign Nation []6 [6

Foreign Country
allure 9

IV.

110 Insurance
120 Marine
130 Miller Act

140 Negotiable Instrument
EC] 150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

H

Student Loans

(Excludes Veterans)
C] 153 Recovery of Overpayment
of Veteran's Benefits

|__| 160 Stockholders’ Suits
|_| 190 Other Contract

196 Franchise

ll

|_| 220 Foreclosure

|_| 240 Torts to Land

152 Recovery of Defaulted

195 Contract Product Liability

210 Land Condemnation

230 Rent Lease & Ejectment

245 Tort Product Liability
290 All Other Real Property

PERSONA AL INJURY

310 Airplane

315 Airplane Product
Liability

320 Assault, Libel &
Slander

| _] 330 Federal Employers’
Liability

340 Marine

345 Marine Product
Liability

350 Motor Vehicle

355 Motor Vehicle
Product Liability

|

cl 360 Other Personal
Injury

_l 362 Personal Injury -
Medical Malpractice

440 Other Civil Rights

|] 441 Voting

-| 442 Employment

443 Housing/

Accommodations

|_| 445 Amer. w/Disabilities -

Employment

] 446 Amer. w/Disabilities -

Other
1X] 448 Education

NATURE OF SUIT (Place an “x in One Box se

PERSONAL INJURY

Cl 365 Personal Injury -
Product Liability
[_] 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability
[] 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
371 Truth in Lending
C] 380 Other Personal
Property Damage
[] 385 Property Damage
Product Liability

Habeas as Corpus:
463 Alien Detainee
510 Motions to Vacate
Sentence

|] 530 General

|__| 535 Death Penalty
Other:

540 Mandamus & Other
550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

5 625 Drug Related Seizure
of Property 21 USC 881
| 1690 Other

710 Fair Labor Standards
Act
| _|720 Labor/Management
Relations
740 Railway Labor Act
si Family and Medical
Leave Act
| 1790 Other Labor Litigation
791 Employee Retirement
Income Security Act

462 Naturalization “Application
465 Other Immigration
Actions

Click here for: N

422 Appeal 28 USC 158

423 Withdrawal
28 USC 157

INTELLECTUAL

PROPERTY RIGHTS _

820 Copyrights

830 Patent

835 Patent - Abbreviated
New Dnig Application

840 Trademark

880 Defend Trade Secrets
Act of 2016

861 BIA (3958

862 Black Lung (923)

863 DIWC/DIWW (403(g))
864 SSID Title XVI

865 RSI (405(g)

870 Taxes SUS S. Plaintiff
or Defendant)

871 IRS-Third Party
26 USC 7609

H

375 False Claims Act

376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

{| 410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

|_| 480 Consumer Credit

(5 USC 1681 or 1692)

|_| 485 Telephone Consumer
Protection Act

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

|| 890 Other Statutory Actions

| 891 Agricultural Acts

893 Environmental Matters

1 _| 895 Freedom of Information

Act
896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
|_| 950 Constitutionality of
State Statutes

V. ORIGIN (Place an "X" in One Box Only)

1 Original
O Proceeding

Ix]? Removed from

m3

State Court

Remanded from
Appellate Court

4 Reinstated or 5 Transferred from
0 O Another District

Reopened

(specify)

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
U Litigation -
Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
20 U.S.C. Section 1232g

Brief description of cause:
Plaintiff alleges a violation of The Family Educational Rights and Privacy Act of 1974, 20 USC Section 1232g (FERPA)

VIE. REQUESTED IN [-] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 41,000,000 JURY DEMAND: [tyes  [X]No
VIIL RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE / 2 REY OF RECORD
SLM [2
FOR ak Lo [€.
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

